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 6   Attorneys for the United States

 7

 8                               IN THE UNITED STATES DISTRICT COURT

 9                                     EASTERN DISTRICT OF CALIFORNIA

10

11   UNITED STATES OF AMERICA,                          2:15-CR-00177-GEB
12                  Plaintiff,
                                                        STIPULATION AND ORDER RE
13          v.                                          INTERLOCUTORY SALE OF
                                                        REAL PROPERTY
14   JASON MATECKI,
15                  Defendant.
16

17          The United States of America and defendant Jason Matecki, through their counsel of record,

18 hereby agree and stipulate as follows:

19          1.      On August 20, 2015, a grand jury in this district indicted defendant Jason Matecki,

20 charging him with: Count One: Conspiracy to Distribute and to Possess with Intent to Distribute Cocaine

21 and MDMA, in violation of 21 U.S.C. §§ 846 and 841(a)(1); Count Two: Possession with Intent to

22 Distribute Cocaine, in violation of 21 U.S.C. § 841(a)(1); and Count Three: Possession with Intent to

23 Distribute MDMA, in violation of 21 U.S.C. § 841(a)(1). The indictment alleged further, that upon

24 defendant Jason Matecki’s conviction, certain property would be subject to forfeiture to the United

25 States, including the following:
26                  a.      Real property located at 3750 South Las Vegas Boulevard, Unit 2701, Las Vegas,
                            Nevada, APN: 162-20-712-032,
27
                    b.      Real property located at 1369 Santona Street, Manteca, California, APN:
28                          224-540-04,
                                                         1
29                                                               Stipulation and Order for Interlocutory Sale of Real Property

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 1                  c.     Approximately $10,451.00 in U.S. Currency,
 2                  d.     A Cashier’s Check in the amount of $5,500.00 made payable to Jason Matecki
                           Wholesale, and
 3
                    e.     A sum of money equal to the total amount of proceeds obtained as a result of the
 4                         offenses, or conspiracy to commit such offenses, for which defendant is convicted.
 5          2.      Jason Matecki is the recorded owner of the real property located at 3750 South Las Vegas

 6 Boulevard, Unit 2701, Las Vegas, Nevada, APN: 162-20-712-032, and more fully described in Exhibit A

 7 attached hereto (hereafter the “real property” or “Las Vegas property”).

 8          3.      The parties stipulate that based on the information they have, no other persons or entities

 9 have an interest in the real property.

10          4.      On April 8, 2016, the United States and defendant Jason Matecki entered into a plea

11 agreement in which the defendant agreed to forfeit his right, title, and interest in the below-described

12 assets pursuant to 21 U.S.C. § 853, to be disposed of according to law:

13                  a. Real property located at 3750 South Las Vegas Boulevard, Unit 2701, Las Vegas,
                       Nevada, APN: 162-20-712-032;
14
                    b. Approximately $10,451.00 in U.S. Currency; and
15
                    c. A cashier’s check in the amount of $5,500.00 made payable to Jason Matecki
16                     Wholesale.
17          A Preliminary Order of Forfeiture was entered on April 21, 2016, forfeiting defendant Jason

18 Matecki’s interest in the above-listed assets.

19          The parties agree and hereby stipulate that an order should be entered granting an interlocutory

20 sale of the Las Vegas property as follows:

21          1.      The real property located at 3750 South Las Vegas Boulevard, Unit 2701, Las Vegas,

22 Nevada, APN: 162-20-712-032 will be sold by Award Realty Corporation or its designee, in the most

23 commercially feasible manner, as soon as reasonably possible, for the maximum price.

24          2.      A sales offer in the amount of $630,000.00 for the real property has been agreed to by the

25 United States. Escrow is estimated to close by the end of June 2016. The buyer of the real property is
26 Timothy Hopkins.

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                                                          2
29                                                                Stipulation and Order for Interlocutory Sale of Real Property

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 1           3.       The Title/Escrow Officer shall be instructed to send a check made payable to the U.S.

 2 Customs and Border Protection in the amount of the net proceeds from the sale of the real property to the

 3 U.S. Attorney’s Office, Asset Forfeiture Unit, 501 I Street, Suite 10-100, Sacramento, CA 95814.

 4           4.       The net proceeds from the sale of the real property will include all money realized from

 5 the sale of the real property, except for the following:

 6                    a.      Real estate commissions;
 7                    b.      Amounts due to the holder of any valid lien which was recorded prior to the time
                              the United States' Lis Pendens was recorded;
 8
                      c.      Real estate property taxes which are due and owing;
 9
                      d.      Insurance costs, if any;
10
                      e.      Title fees;
11
                      f.      HOA fees;
12
                      g.      Escrow fees and expenses; and
13
                      h.      County transfer taxes.
14

15           5.       All of the net proceeds from the sale of the real property shall be sent in the form of a

16 check made payable to the U.S. Customs and Border Protection and sent to the U.S. Attorney’s Office at

17 the above address, at the close of escrow, to be deposited in the Seized Asset Deposit Fund. Said

18 proceeds will be substituted as the res in this action and held pending further order of the Court.

19           6.       The Title/Escrow Company shall forward paperwork regarding the completed sale of the

20 above-described real property to the United States at the close of escrow.

21           7.       The United States agrees to execute a Notice of Withdrawal of Lis Pendens against the

22 above-described real property in connection with the above-entitled action, upon request by Title/Escrow

23 Company.

24           8.       If the above-described sale to Timothy Hopkins is not completed by June 30, 2016, Award

25 Realty Corporation, or its designee, shall be authorized to sell the real property to another buyer(s) in the
26 most commercially feasible manner, as soon as reasonably possible, for the maximum price. All sale

27 offers must be agreed to in writing by the U.S. Attorney’s Office. If the real property has not been sold

28 by Award Realty Corporation, or its designee, by October 31, 2016, then the U.S. Customs and Border
                                                      3
29                                                            Stipulation and Order for Interlocutory Sale of Real Property

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 1 Protection shall have authority to market and sale the real property in the most commercially feasible

 2 manner, as soon as reasonably possible, for the maximum price.

 3           9.      Each party to this Stipulation shall execute all documents and provide signatures

 4 necessary to close escrow, as required by the Title/Escrow Company.

 5           10.      All parties to this Stipulation hereby release the United States and its servants, agents, and

 6 employees from any and all liability arising out of or in any way connected with the forfeiture and sale of

 7 the real property. This is a full and final release applying to all unknown and unanticipated injuries,

 8 and/or damages arising out of said forfeiture and/or sale, as well as to those now known or disclosed.
 9 The parties to this Stipulation waive the provisions of California Civil Code § 1542, which provides:

10                   A general release does not extend to claims which the creditor does not
                     know or suspect to exist in his or her favor at the time of executing the
11                   release, which if known by him or her must have materially affected his or
                     her settlement with the debtor.
12

13           11.     Defendant Jason Matecki shall maintain the real property in the same condition and repair

14 as existed on the date of recording of the Lis Pendens, normal wear and tear excepted, until his custody,

15 control, and responsibility have ceased. The term "maintain" shall include, but is not limited to, keeping

16 the property free of hazard and structural defects; keeping all heating, air conditioning, plumbing,

17 electrical, gas, oil, or other power facilities in good working condition and repair; keeping the property

18 clean and performing such necessary sanitation and waste removal; and keeping the property in good

19 condition by providing ordinary and necessary items of routine maintenance.
20           12.      Defendant Jason Matecki shall maintain all insurance policies currently in effect with

21 respect to the real property, including hazard insurance to cover all buildings and other improvements

22 that are now located on the property until the interlocutory sale is completed. The insurance must cover

23 loss or damage caused by fire, hazards normally covered by "extended coverage" hazard insurance

24 policies, and liability to persons injured on said property and for property damage to the real property.

25           13.     Except as specifically provided herein, defendant Jason Matecki shall not convey, transfer,

26 encumber, lien, or otherwise pledge the real property without the prior, written approval of the United

27 States.

28           14.     All parties are to bear their own costs and attorneys' fees.
                                                            4
29                                                                  Stipulation and Order for Interlocutory Sale of Real Property

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 1          15.       The Court shall maintain jurisdiction to enforce the terms of the Stipulation and Order

 2 Regarding Interlocutory Sale of Real Property.

 3          IT IS SO STIPULATED

 4 Dated: 6/3/2016                                         PHILLIP A. TALBERT
                                                           Acting United States Attorney
 5

 6                                                  By:    /s/ Kevin C. Khasigian
                                                           KEVIN C. KHASIGIAN
 7                                                         Assistant U.S. Attorney
 8
     Dated: 6/01/16                                        /s/ Jason Matecki
 9                                                         JASON MATECKI
                                                           Defendant
10
                                                ACKNOWLEDGMENT
11
        A notary public or other officer completing this certificate verifies only the identity of the
12      individual who signed the document to which this certificate is attached, and not the truthfulness,
        accuracy, or validity of that document.
13

14 State of California                      )
                                            )
15 County of San Joaquin                    )
   On June 1st, 2016 , before me, Arielle Jaimee Hoffman , Notary Public, personally appeared,
16 who proved to me on the basis of satisfactory evidence to be the person(s) whose name(s) is/are
   subscribed to the within instrument and acknowledged to me that he/she/they executed the same in
17 his/her/their authorized capacity(ies), and that by his/her/their signature(s) on the instrument the
   person(s), or the entity upon behalf of which the person(s) acted, executed the instrument.
18
   I certify under PENALTY OF PERJURY under the laws of the State of California that the foregoing
19 paragraph is true and correct.
20 WITNESS my hand and official seal.

21 Signature /s/ Arielle Jaimee Hoffman

22
     Dated: 6/3/16                                         /s/ Thomas Johnson
23                                                         THOMAS JOHNSON
                                                           Attorney for Defendant
24                                                         Jason Matecki
             ARIELLE JAIMEE HOFFMAN
25                  Commission #2145516
                  Notary Public - California
26                    San Joaquin Country
             My Comm. Expires Mar 7, 2020
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                                                           5
29                                                                 Stipulation and Order for Interlocutory Sale of Real Property

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 1                                 ORDER FOR INTERLOCUTORY SALE

 2         IT IS HEREBY ORDERED, ADJUDGED, AND DECREED that:

 3         1.      The stipulation re interlocutory sale of the real property is granted.

 4         2.      The real property located at 3750 South Las Vegas Boulevard, Unit 2701, Las Vegas,

 5 Nevada, APN: 162-20-712-032, and more fully described in Exhibit A attached hereto, will be sold

 6 pursuant to the terms set forth above.

 7         3.      The net proceeds from the sale of the real property will be substituted as the res herein and

 8 held by the U.S. Customs and Border Protection, pending further order of the Court.
 9         IT IS SO ORDERED.

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     Dated: June 7, 2016
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29                                                                Stipulation and Order for Interlocutory Sale of Real Property

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                                                   EXHIBIT A
 1 PARCEL ONE (1):

 2
     UNIT 2701 IN THE RESORT CONDOMINIUM AT THE LUXURY BUILDING, AS SHOWN ON
 3   THAT CERTAIN FINAL MAP OF THE RESORT CONDOMINIUM AT THE LUXURY BUILDING,
     A RESORT CONDOMINIUM SUBDIVISION ON FILE IN BOOK 142, PAGE 38 OF PLATS (THE
 4   “MAP"), AND AS SET FORTH IN THE DECLARATION OF COVENANTS, CONDITIONS AND
     RESTRICTIONS AND RESERVATION OF EASEMENTS FOR THE RESIDENCES AT MANDARIN
 5   ORIENTAL, LAS VEGAS (THE “DECLARATION''), RECORDED DECEMBER 31, 2009 IN BOOK
     20091231 AS INST. NO. 04016, BOTH IN THE OFFICE OF THE COUNTY RECORDER OF CLARK
 6
     COUNTY, NEVADA (THE "OFFICIAL RECORDS").
 7
     PARCEL TWO (2):
 8
   AN ALLOCATED INTEREST AS A TENANT-IN-COMMON IN THE COMMON ELEMENTS OF
 9 THE RESORT CONDOMINIUM AT THE LUXURY BUILDING (INCLUDING ANY

10 ANNEXATIONS THERETO), AS SHOWN BY THE MAP AND AS SET FORTH IN THE
   DECLARATION.
11
   PARCEL THREE (3):
12
   AN EXCLUSIVE EASEMENT APPURTENANT TO PARCELS ONE (1) AND TWO (2)
13 DESCRIBED ABOVE, OVER AREAS DEFINED AND DESCRIBED AS LIMITED COMMON

14 ELEMENTS, IF ANY, ALLOCATED TO PARCELS ONE (1) AND TWO (2) IN THE
   DECLARATION AND AS SHOWN AND DELINEATED UPON THE MAP REFERRED TO
15 ABOVE.

16 PARCEL FOUR (4):

17 NON-EXCLUSIVE EASEMENTS FOR ACCESS, INGRESS, EGRESS, USE, ENJOYMENT AND

18 OTHER PURPOSES ALL AS DESCRIBED IN THE DECLARATION AND IN THAT CERTAIN: (A)
   DECLARATION OF CENTRAL PLANT EASEMENTS, DATED DECEMBER 1, 2009 AND
19 RECORDED ON DECEMBER 1, 2009 IN THE OFFICIAL RECORDS IN BOOK 20091201, INST.
   NO. 0002884, AS AMENDED BY THAT CERTAIN FIRST AMENDMENT TO DECLARATION OF
20 CENTRAL PLANT EASEMENTS, DATED JANUARY 7, 2010 AND RECORDED ON JANUARY 7,
   2010 IN THE OFFICIAL RECORDS IN BOOK 20100107, INST. NO. 0000577; (B) RECIPROCAL
21
   EASEMENT AGREEMENT FOR LUXURY BUILDING, DATED DECEMBER 3I, 2009 AND
22 RECORDED ON DECEMBER 31, 2009 IN THE OFFICIAL RECORDS IN BOOK 20091231, INST.
   NO. 03507; (C) PARKING AND ACCESS AGREEMENT, DATED DECEMBER 31, 2009 AND
23 RECORDED ON DECEMBER 31, 2009 IN THE OFFICIAL RECORDS IN BOOK 2009l23l, INST.
   NO. 02320; (D) ACCESS EASEMENT AGREEMENT, DATED DECEMBER 31, 2009 AND
24 RECORDED ON DECEMBER 31, 2009 IN THE OFFICIAL RECORDS IN BOOK 20091231, INST.
   NO. 02321; (E) DECLARATION OF SUPPORT AND ENCROACHMENT EASEMENTS, DATED
25
   DECEMBER 1, 2009 AND RECORDED ON DECEMBER 1, 2009 IN THE OFFICIAL RECORDS IN
26 BOOK 20091201, INST. NO. 0002885, AS AMENDED BY THAT CERTAIN FIRST AMENDMENT
   TO DECLARATION OF SUPPORT AND ENCROACHMENT EASEMENTS, DATED JANUARY 7,
27 2010 AND RECORDED ON JANUARY 7, 2010 IN THE OFFICIAL RECORDS IN BOOK 20100107,
   INST. NO. 0000578; AND (F) DECLARATION OF LIFE SAFETY SYSTEMS EASEMENTS,
28
                                            7
29                                                 Stipulation and Order for Interlocutory Sale of Real Property

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 1 DATED DECEMBER 1, 2009 AND RECORDED ON DECEMBER 1, 2009 IN THE OFFICIAL
   RECORDS IN BOOK 20091201, INST. NO. 0002886, AS AMENDED BY THAT CERTAIN FIRST
 2
   AMENDMENT TO DECLARATION OF LIFE SAFETY SYSTEM EASEMENTS, DATED
 3 JANUARY 7, 2010 AND RECORDED ON JANUARY 7, 2010 IN THE OFFICIAL RECORDS IN
   BOOK 20100107, INST. NO. 0000579.
 4
   APN: 162-20-712-032
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29                                                Stipulation and Order for Interlocutory Sale of Real Property

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